                              FOR THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF VIRGINIA
                                       ROANOKE DIVISION

UNITED STATES OF AMERICA
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